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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                       :

               Plaintiff,                       :           CASE NO. 2:20-cr-62 (2)

       vs.                                      :           JUDGE MORRISON

WHITNEY R. LANCASTER,                           :

               Defendant.                       :

UNOPPOSED MOTION FOR RETURN OF DEFENDANT LANCASTER’S PASSPORT

       Defendant Whitney Lancaster, through undersigned counsel, respectfully moves this Court

for an Order authorizing Mr. Lancaster to retrieve his U.S. passport from the Clerk of Courts. The

Government is unopposed to this request. The reasons in support of this Motion are set forth in

the following Memorandum.

                                                    Respectfully submitted,
                                                    Taft Stettinius & Hollister LLP

                                                    /s/ David H. Thomas
                                                    DAVID H. THOMAS
                                                    Ohio Supreme Court No. 0071492
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                                                    /s/ Kathryn S. Wallrabenstein
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                                                    Counsel for Defendant Whitney Lancaster
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                               MEMORANDUM IN SUPPORT

       Defendant Whitney Lancaster, through undersigned counsel, is now before this Court

requesting he be permitted to retrieve his previously surrendered U.S. passport from the Clerk of

Courts. Counsel for Mr. Lancaster surrendered his passport to the Clerk’s Office on April 2, 2020.

A federal jury acquitted Mr. Lancaster on February 22, 2022. As such, Mr. Lancaster requests this

Court authorize the Clerk’s Office to release his previously surrendered passport to him. The

Government is unopposed to this request. A proposed order is attached.

                                                    Respectfully submitted,
                                                    Taft Stettinius & Hollister LLP

                                                    /s/ David H. Thomas
                                                    DAVID H. THOMAS
                                                    Ohio Supreme Court No. 0071492
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                                                    /s/ Kathryn S. Wallrabenstein
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                                                    Counsel for Defendant Whitney Lancaster




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing was filed with the Clerk of Court for

the United States District Court for the Southern District of Ohio using the CM/ECF system, which

will send notification of such filing to the following on October 18, 2022, by electronic mail:

Assistant U.S. Attorneys Kevin Kelley and Noah Litton
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Attorney for Defendant Steven Rosser
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Columbus, Ohio 43215

                                                     /s/ David H. Thomas
                                                     DAVID H. THOMAS




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